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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                    )
                                             )                 CASE NO. 4:12CR3033
                     Plaintiff,              )
                                             )                       ORDER
v.                                           )
                                             )
BRITNEY EDNEY,                               )
                                             )
                     Defendant.              )

       THIS MATTER comes before the Court on defendant’s Unopposed Motion to

Continue Pretrial Motions Deadline, filing 18, from June 4, 2012, to June 25, 2012. The

Court, being fully advised in the premises, finds that said motion should be granted.

       IT IS THEREFORE ORDERED that defendant’s deadline to file pretrial motions

shall be continued until the 25th day of June, 2012.

       This Court further finds that, based upon the showing set forth in defendant’s

motion, the ends of justice will be served by continuing defendant’s deadline to file pretrial

motions. This Court further finds that taking such action outweighs the best interests of the

public and the defendant in a speedy trial. Accordingly, the time from June 4, 2012, until

June 25, 2012, shall be excludable time pursuant to 18 U.S.C. §3161(h)(7)(A).

       DATED this 4th day of June, 2012.

                                                  BY THE COURT:


                                                  s:/ Cheryl R. Zwart
                                                  The Honorable Cheryl R. Zwart
                                                  United States Magistrate Judge
